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 6                                   UNITED STATES DISTRICT COURT
 7                                          DISTRICT OF NEVADA
 8                                                   *****
 9     UNITED STATES OF AMERICA,                        )
                                                        ) Case no. 3:12-CR-00074-LRH-(VPC)
10                                    Plaintiff,        )
                                                        ) ORDER
11     vs.                                              )
                                                        )
12     CATHERINE MARIA RAINS,                           )
                                                        )
13                                    Defendant.        )
                                                        )
14
15            Catherine Maria Rains (“Defendant”) has filed a motion (731) seeking Discretionary
16     Relief pursuant to 18 U.S.C. § 3582(c)(2). Accordingly,
17            IT IS HEREBY ORDERED that the Federal Public Defender is appointed as counsel to
18     represent Defendant unless the Federal Public Defender declines the appointment, on the basis of
19     a conflict, no later than fourteen (14) days from the date of this Order.
20            IT IS FURTHER ORDERED that the Clerk of Court shall distribute a copy of the
21     document filed by Defendant to the Federal Public Defender, the United States Attorney, and the
22     U.S. Probation Office forthwith.
23            IT IS FURTHER ORDERED that the Probation Office shall provide counsel for the
24     defendant and the government with Defendant’s Presentence Report; shall generate Defendant’s
25     current Inmate Profile (also known as a “Sentry Report”); and shall prepare a Supplemental
26     Presentence Report addressing whether, in the Probation Office’s assessment, Defendant is
27     statutorily eligible for a sentence reduction pursuant to Guidelines Amendment 782, and further
28     advising the Court of the applicable and recommended guideline range. The Probation Office


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                  Refers to the court’s docketing number.
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 1     will serve the Presentence Report and Supplemental Presentence Report on the Federal Public
 2     Defender, the United States Attorney, and the Court, and shall be prepared to meet and confer
 3     with the Federal Public Defender and the United States Attorney to discuss the Sentry Report,
 4     within thirty (30) days of the date of this Order.
 5            IT IS FURTHER ORDERED that the United States Attorney or the Federal Public
 6     Defender may, within thirty (30) days after receiving those Reports from the Probation Office,
 7     request that the Probation Office provide Defendant’s Progress Report and Disciplinary Records
 8     from the Bureau of Prisons. If the United States Attorney or the Federal Public Defender makes
 9     such a request, the Progress Report and Disciplinary Records shall be served on the Federal
10     Public Defender, the United States Attorney, and the Court within thirty (30) days after receiving
11     the request unless for good cause the time is extended.
12            IT IS FURTHER ORDERED that the Federal Public Defender shall, within one hundred
13     twenty (120) days of this Order, file any appropriate motion or stipulation. If the Federal Public
14     Defender files a motion for a sentence reduction pursuant to Guidelines Amendment 782, the
15     United States Attorney shall serve any response to such motion within thirty (30) days of the
16     filing of that motion unless for good cause the time is extended.
17
18            IT IS SO ORDERED.
19            DATED this 14th day of November, 2014.
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                                                                _______________________________
21                                                              LARRY R. HICKS
                                                                UNITED STATES DISTRICT JUDGE
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